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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 08-20895-CR-UNGARO/SIMONTON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  EDA MILANES, et al.,

         Defendants.
                                      /

                      ORDER RE: MOTION FOR LEAVE TO INSPECT PREMISES

         Presently pending before this Court is Defendant Eda Milanes’ Motion for Leave to

  Inspect Premises (DE # 136), which was joined by Co-defendant Jorge Pacheco (DE

  ##140, 158). The Honorable Ursula Ungaro, United States District Judge, has referred

  this matter to the undersigned United States Magistrate Judge (DE # 157). The

  government has responded (DE # 161). Oral argument on the motion was heard on

  January 7, 2009. This Order sets forth the rulings made orally at the hearing.

         Defendant Eda Milanes seeks to inspect two locations which housed medical

  facilities relevant to the pending indictment–the former location of M&P Group of South

  Florida and Tender Care Medical Center, Inc. She contends that the layout and

  dimensions of these facilities are material to her defense in that the angles and vantage

  points are relevant to establish whether the alleged illegal activity could have occurred

  outside of her presence and/or sight (DE # 136 at 1-2). In response, the government

  states that it does not have control over either of these premises; moreover, the need for

  this information is minimal since the defendant worked there and is familiar with what

  the layout was at the time.

         At oral argument, the government acknowledged that it did not oppose Defendant
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  Milanes’ having access to the premises for the purpose of taking measurements or

  photographs, etc., but wanted to make clear that the government should not be

  compelled to provide such access since neither of the premises were within the

  government’s control. In reply, counsel for Defendant Milanes stated that she believed

  that the person in control of one of the premises, Tender Care Medical Center, might be

  a cooperating witness for the government, and that the government could order this

  person to make the premises available. Counsel for Defendant Milanes also stated that

  this person was represented by counsel.

        The present motion was not served on either of the persons in control of the

  subject premises, or on counsel for Tender Care Medical Center; nor was there

  consultation with them regarding the fact that such a motion was going to be filed.

  Counsel for Defendant Milanes stated that she had not consulted with them because she

  believed that such consultation would be futile; and, that the motion had not been

  served on them because they were not parties to this action. The basis for this belief

  was that an investigator had been sent to the Tender Care Medical Center on two

  occasions and had not been able to obtain the requested access. Defendant Milanes

  said that she had not contacted the person who was presently in possession of the

  former location of M&P Group of South Florida, and that she was less concerned about

  inspecting those premises.

        The government has asserted that it does not have control over the premises

  which are the subject of this motion, and there is no evidence to the contrary. Therefore,

  the Court cannot order the government to provide access which it does not have.1 The


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         The undersigned notes, however, that if the government had a cooperation
  agreement with the person in control of the premises, which gave the government the

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  persons who have access and control were not served with this motion, or with a

  subpoena, and the Court therefore has not obtained jurisdiction over those persons for

  the purposes of compelling them to do anything.

         In lieu of denying this motion without prejudice, in view of the impending trial

  date, the undersigned Magistrate Judge has determined that it is appropriate to hold this

  motion in abeyance to permit counsel for Defendant Milanes to consult with the persons

  affected by this motion (i.e., the persons in control of the premises), and to serve the

  motion on those persons if Defendant Milanes is unable to resolve this matter.

         Resolution of this motion will be deferred until Defendant Milanes files a

  Certificate of Consultation and Proof of Personal Service of the Motion and this Order on

  the persons in control of the premises. A response to the Motion will be due within ten

  calendar days from the date of Service of the Motion and this Order.

         Therefore, based upon a review of the record as a whole, it is hereby

         ORDERED AND ADJUDGED that the Motion for Leave to Inspect Premises is

  DEFERRED until a Certificate of Consultation and Proof of Personal Service is filed with

  the Court.

         DONE AND ORDERED in chambers in Miami, Florida, on January 13, 2009.




                                                   ANDREA M. SIMONTON
                                                   UNITED STATES MAGISTRATE JUDGE



  right to such access upon request, a different result would obtain. The undersigned
  accepted the government’s statement that it did not have the requisite control or
  possession over the premises that would enable it to comply with a Court order
  compelling it to provide the requested access.

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  Copies furnished to:
  The Honorable Ursula Ungaro, United States District Judge
  All counsel of record via CM/ECF




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